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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

IMPLICIT, LLC,                        §
                                      §
     Plaintiff,                       §      Civil Action No. 2:18-cv-53-JRG
                                      §                LEAD CASE
      v.                              §
                                      §        JURY TRIAL DEMANDED
NETSCOUT SYSTEMS, INC.,               §
                                      §
     Defendant.                       §


 IMPLICIT, LLC,                       §
                                      §
      Plaintiff,                      §      Civil Action No. 2:18-cv-54-JRG
                                      §             MEMBER CASE
       v.                             §
                                      §        JURY TRIAL DEMANDED
 SANDVINE CORPORATION,                §
                                      §
      Defendant.                      §




   DEFENDANTS NETSCOUT SYSTEM, INC. AND SANDVINE CORPORATION’S
     MOTION TO EXCLUDE DR. KEITH UGONE’S REASONABLE ROYALTY
          CALCULATION AND OPINIONS REGARDING DAMAGES




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I.     INTRODUCTION

       The Court should exclude the opinions of Implicit’s damages expert, Dr. Keith Ugone,

because his analysis lacks reliability in numerous respects that, both individually and taken

together, should preclude presentation of his opinions to a jury. First, Dr. Ugone relies on multiple

settlement agreements without apportioning any value attributable to an array of unasserted patents

and concludes, based solely on the testimony of Implicit’s owner, that none of the unasserted

patents had any value in the settlement agreements. Second, Dr. Ugone provides no economic

apportionment analysis to account for any value of the unpatented features in the Accused

Products, relying instead on a technical assessment by a technical expert. Third, Dr. Ugone forms

a majority of his royalty base from revenue associated with unpatented products and subscription

services, despite admitting that he performed no convoyed sales analysis. Finally, Dr. Ugone

improperly conducts two hypothetical negotiations for each Defendant and conducts the

negotiation with the wrong parties, which renders unreliable his entire hypothetical negotiation

construct. Each of these errors alone renders Dr. Ugone’s analysis unreliable. Taken together, they

represent a multi-faceted lack of reliability in his overall opinions and, therefore, Dr. Ugone’s

testimony should be excluded.

II.    LAW APPLICABLE TO EXPERT TESTIMONY

       Expert testimony is admissible under the Federal Rule of Evidence 702 only if “the

testimony is based on sufficient facts or data,” “the testimony is the product of reliable principles

and methods,” and “the expert has reliably applied the principles and methods to the facts of the

case.” The offering party bears the burden of proving admissibility of expert testimony by a

preponderance of the evidence. Boujaily v. United States, 483 U.S. 171 (1987); Johnson v. Arkema,

Inc. 685 F.3d 452, 459 (5th Cir. 2012). District courts are charged to act as “gatekeepers” in order




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to ensure that all “evidence admitted is not only relevant, but reliable.” Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579, 589 (1993). Reliable testimony is that which is “grounded in the

methods and procedures of science and . . . [is] more than unsupported speculation or subjective

belief.’” Johnson, 685 F.3d at 459 (quoting Curtis v. M&S Petroleum, Inc., 174 F.3d 661, 668).

       Settlement agreements, and expert opinions that rely on them, are subject to general and

longstanding disapproval as a basis for determining a reasonable royalty. See LaserDynamics, Inc.

v. Quanta Computer, Inc., 694 F.3d 51, 77 (Fed. Cir. 2012) (“The notion that license fees that are

tainted by the coercive environment of patent litigation are unsuitable to prove a reasonable royalty

is a logical extension of Georgia-Pacific, the premise of which assumes a voluntary agreement

will be reached between a willing licensor and a willing licensee ….”); Hanson v. Alpine Valley

Ski Area, Inc., 718 F2d 1075, 1079 (Fed. Cir. 1983). Nevertheless, the Federal Circuit has

recognized limited circumstances where settlement agreements might be probative if they are

comparable. See ResQNet, Inc. v. Lansa, Inc., 594 F.3d 860, 870-72 (Fed. Cir. 2010) (noting that

an agreement with a running royalty was the most reliable license in the record); Prism Techs. LLC

v. Sprint Spectrum L.P., 849 F.3d 1360, 1369-70 (Fed. Cir. 2017) (noting that a settlement

agreement entered into after trial can be probative but are unreliable when “they cover technology

either not the same as or not comparable to the patented technology at issue in the later suit,” or

when they “cover the patented technology plus other technologies.”); ResQNet, 594 F.3d at 872-

73 (noting that “the trial court should not rely on unrelated licenses to increase the reasonable

royalty rate above rates more clearly linked to the economic demand for the claimed technology.”);

see also Eidos Display, LLC v. Chi Mei Innolux Corp., No. 6:11-CV-00201, 2017 WL 1322550 at

*4 (E.D. Tex. Apr. 6, 2017). Thus, where settlement agreements are not comparable, they should

be excluded from a reasonable royalty analysis. See Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d




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1292, 1317 (Fed. Cir. 2011) (noting that “there must be a basis in fact to associate the royalty rates

used in prior licenses to the particular hypothetical negotiation at issue.”). Opinion testimony based

on non-comparable settlement agreements should be excluded as unreliable and unhelpful. See

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 595 (1993) (expert testimony can be “both

powerful and quite misleading” and, thus, district courts are tasked with the duty to act as

gatekeepers by admitting expert testimony only if it “both rests on a reliable foundation and is

relevant to the task at hand.”); see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999);

Johnson v. Arkema, Inc., 685 F.3d 452, 459 (5th Cir. 2012); DataQuill Ltd. v. High Tech Computer

Corp., 887 F.Supp.2d 999, 1022 (S.D.Cal.2011); Eidos Display, 2017 WL 1322550 at *4-5

(granting Daubert motion and excluding opinions based on an unreliable settlement agreement).

       In addition, absent an exception such as the entire market value rule or convoyed sales, the

royalty base in a patent case should not include sales of non-accused products or services. See, e.g.,

35 U.S.C. § 284 (a reasonable royalty is “for the use made of the invention by the infringer….”);

see AstraZeneca AB v. Apotex Corp., 782 F.3d 1324, 1343 (Fed. Cir. 2015) (“The royalty base for

reasonable royalty damages cannot include activities that do not constitute infringement.”).

III.   ARGUMENT

       1. The                                               Settlement Agreements Are Not
          Comparable.

       The                                                                 settlements (collectively,

“Settlement Agreements”) are not comparable to a hypothetical negotiation between the parties in

these cases. See generally, Ex. 1-2, Ugone NetScout Report; Ex. 3-4, Ugone Sandvine Report; Ex.

5,       Settlement Agreement; Ex. 6,            Settlement Agreement; Ex. 7,              Settlement

Agreement; Ex. 8,             Settlement Agreement. The fundamental reason that the Settlement

Agreements are not comparable is that Dr. Ugone admittedly did not perform any attribution


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analysis to account for the value of non-asserted U.S. and foreign patents and patent applications

that are included in those Settlement Agreements, but that would not be considered during the

hypothetical negotiation. Dr. Ugone attributed no value to these non-asserted patents and patent

applications based solely on statements of Mr. Balassanian, Impicit’s sole owner and manager,

that all non-asserted patents and patent applications held no value. This unreliable methodology

shirks the requirement for economic adjustments to otherwise non-comparable agreements before

using them as a basis for determining a reasonable royalty.

                 a. Dr. Ugone did not Perform any Attribution Analysis for Non-Asserted Foreign
                    and U.S. Patents

         Dr. Ugone admittedly did not conduct any analysis to determine the value of the non-

asserted foreign and U.S. Patents and applications not asserted in this case but included in the

Settlement Agreements.1 Instead, he relied solely on Mr. Balassanian’s unilateral, self-serving,

and uncorroborated belief that the non-asserted patents had no value in the Settlement Agreements.

Reliance on these uncorroborated statements alone renders Dr. Ugone’s opinions unreliable.

         The Federal Circuit noted in Prism that where a settlement agreement includes more

patents than the lawsuit, “evidence was needed that reasonably addresses what bearing the amounts

in that Agreement had on the value of the particular patent at issue.” Prism, 849 F.3d at 1371. In

that case, it was appropriate to consider the settlement agreement because the patentee “supplied

such evidence, including what the [] Settlement Agreement itself says about attributing amounts



1
    The Settlement Agreements are all structured very similarly. The




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to particular patents and, more reliably, creditable expert evidence about how the other Agreement-

covered patents relate to [settling party’s] business operations.” See id.; see also, e.g.,

LaserDynamics, Inc. v. Quanta Computer, Inc., No. 2:06-CV-348-TJW-CE, 2011 WL 7563818,

at *3 (E.D. Tex. Jan. 7, 2011) (“where a license covers a portfolio of patents or includes other

intellectual property or services, Plaintiff must present evidence sufficient to allow the jury to

weigh the economic value of the patented feature against the economic value of the features and

services covered by the license agreement.”); DataQuill, 887 F. Supp. 2d at 1023 (noting that an

agreement that covers “hundreds of patents covering a broad range of inventions” was “‘radically

different from the hypothetical agreement under consideration’” for two patents).

       Here, there is no evidence that reasonably addresses what value the Settlement Agreements

place on the three asserted patents in this case out of the over 80 patents and applications included

in many of the Settlement Agreements. Dr. Ugone does no analysis to determine the value of these

non-asserted patents. By way of example2, Dr. Ugone acknowledges that




                                        .3 Dr. Ugone admittedly performed no analysis whatsoever

that would attribute value to the 82 non-asserted patents and applications:




2
  Dr. Ugone’s analysis of each of the Settlement Agreements does not vary widely, thus the
is used as an example. Defendants refer the Court to the footnotes for corresponding citations for
support relating to the                                Settlement Agreements. In addition, Dr.
Ugone confirmed that his answers to questions relating to the Settlement Agreements would be
the same for purposes of Sandvine and NetScout. Ex. 9, Ugone Sandvine Dep. Tr. at 8:5-9, 9:13-
17, 10:5-9, 59:12-61:12.
3
  Ex. 10, Ugone NetScout Dep. Tr. at 146:1-7 (             194:4-13, 194:4-195:4 (         221:6-
222:1 (

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 Ex. 10, Ugone NetScout Dep. Tr. at 105:24-106:10; 107:18-23.4




 Id. at 101:6-15.

        Put another way, Dr. Ugone attributed 100% of the value of the                agreement to the

 three patents asserted in this case. Id. at 84:4-8 (recognizing that he attributed “essentially all” of

 the $100,000 amount to the three patents asserted against NetScout). Even patent families that

 were actually asserted against          (but not asserted against NetScout or Sandvine) did not add

 any value to the          settlement agreement according to Dr. Ugone.5 Ex. 1, Ugone NetScout

 Report, Table 6 (p. 52); Ex. 10, Ugone NetScout Dep. Tr. at 86:12-88:10, 92:21-94:5; 95:11-16.6

 Apparently, Implicit was asserting valueless patents in the            litigation. Nor did Dr. Ugone

 perform any analysis as to the value of



 4
   The same is true of the other Settlement Agreements. Ex. 10, Ugone NetScout Dep. Tr. at 148:3-
 12 (           198:14-200:14; (          224:1-8 (
 5
   See also Ex. 10, Ugone NetScout Dep. Tr. at 146:13-147:25, 148:16-149:7, 163:8-24 (
 223:24-224:6, 226:1-228:5 (          see also, e.g., Ugone NetScout Report, Table 6, p. 52 (
                                                                                         ).
 6
   Ex. 10, Ugone NetScout Dep. Tr. at 147:9-148:2 (              221:7-21 (
 7
   Dr. Ugone acknowledges that the hypothetical negotiation in this case would not include any
 additional foreign and U.S. patents and applications included in the Settlement Agreements other
 than those asserted in this case. Ex. 10, Ugone NetScout Dep. Tr. at 32:20-33:7.

                                                   6
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                            Ex. 10, Ugone NetScout Dep. Tr. at 101:6-23.8 Even further, Dr. Ugone

 did not account for the possibility that the

                             . Id. at 92:1-4.9

          Put simply, it is Dr. Ugone’s opinion that the

                                           the only value came from the asserted patents. Id. at 105:2-

 9; 106:7-14, 115:3-10. This conclusion was not the result of any economic analysis. Id. at 107:24-

 108:4. Indeed, Dr. Ugone acknowledged that he did not independently determine the value of non-

 asserted patents in the           Settlement Agreement. Id. at 109:5-9.10

          Instead, Dr. Ugone dismisses the

                    as having no value because it is his understanding that



                                                                 Ex. 1 (NetScout Report), ¶77; pp. 62

 (         64 (            65 (           66 (           Ex. 2 (Sandvine Report), ¶83, pp. 64 (

 66 (             67 (            see also Ex. 10, Ugone NetScout Dep. Tr. at 93:10-14. The entire

 basis for this understanding Edward Balassanian, Implicit’s owner and manager.11




 8
   Id. at 154:3-7, 156:19-23 (         199:10-19 (      224:1-8, 225:11-25 (
 9
   Id. at 152:11-23 (          201:15-18 (      224:20-225:7 (
 10
    Id. at 159:12-160:9 (         199:10-200:13 (       224:1-8 (
 11


                                             Ex. 10, Ugone NetScout Dep. Tr. at 214:10-21, 203:20-
 206:8.

                                                     7
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 Ex. 10, Ugone NetScout Dep. Tr. at 105:2-9. 12



                Id. at 115:22-25.

         Dr. Ugone did not perform any independent or economic analysis of the value the non-

 asserted patents:




 Id. at 109:5-9; see also id. at 116:24-117:3



                          ).13 Thus, with no factual underpinnings or analysis, Dr. Ugone concludes

 that




        s. Self-serving statements from the Plaintiff’s sole owner cannot serve as a reliable basis to

 conclude that the parties to these settlement agreements attributed no value to any non-asserted

 patents.14 See Ex. 11, Packet Intelligence v. Sandvine Corp., Case No. 2:16-cv-230-JRG, Dkt.



 12
    Id. at 157:2-14, 160:10-13 (        197:9-18 (          222:13-19 (
 13
    Id. at 155:14-156:18 (        201:24-202:12 (          224:1-8 (
 14
    Assuming non-asserted IP has no value is not the only assumption Dr. Ugone is making at Mr.
 Balassanian’s urging. For example,

                 Ex. 1, Ugone NetScout Report, p. 59.

                                                . Ex. 10, Ugone NetScout Dep. Tr. at 235:2-4,
 235:20-23. Dr. Ugone does not appear to have even questioned Mr. Balassanian regarding the
 discrepancy. Id. at 241:8-15.

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 301 (Aug. 19, 2017 Pre-Trial Hearing Tr.) at 49:1-9 (striking damages expert’s opinion that the

 value of non-asserted patents were subsumed by the patents-in-suit “based on discussions with

 [Plaintiff’s] general counsel, [because] that methodology is not acceptably credible … [and] not

 sufficient to pass the Court’s gatekeeping role.”). Dr. Ugone’s above failures render his opinions

 unreliable and unhelpful to a jury.15

                b. Dr. Ugone did not Perform any Analysis of the Settlement Agreements Relating
                   to the Context of the Litigation

        The Settlement Agreements are also not comparable because Dr. Ugone failed to account

 for the litigation circumstances that are very different from the hypothetical negotiation—namely,

 how the litigation context would have affected the value of the Settlement Agreements. The

 Federal Circuit has explained that the litigation context of a settlement agreement is important in

 determining its probative value. See Prism, 849 F.3d at 1369. For instance, where the value of

 patented technology was at issue in an earlier case, a settlement agreement can be “especially

 probative if reached after the litigation was far enough along that the issue was already well

 explored and well tested.” See id. Thus, a settlement agreement was useful where it “was entered

 into, not just after all discovery was complete, but after the entire trial was finished, except for

 closing arguments and jury deliberations.” See id. at 1371. Because of the timing of settlement

 there, the assessment of the likely outcome was reliable, and most of the litigation costs were sunk,

 and the risk of enhanced damages was clarified. See id.

        In fact, Dr. Ugone readily acknowledges that he did not take into account in his analysis



 15
   Dr. Ugone should also be precluded from testifying about agreements that even he agrees are
 not comparable. For NetScout, Dr. Ugone claims that the
 agreements are comparable. For Sandvine, Dr. Ugone claims that                             are
 comparable. Dr. Ugone should not be allowed to testify about
             Defendants will separately move in limine to prevent non-comparable licenses from
 coming into evidence.

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 the litigation context of any of the Settlement Agreements, such as the stage of litigation, “the cost

 of the predicted judgment, ‘its probability,’ and ‘costs of further litigation’,” or whether enhanced

 damages were at issue. See, e.g., Ex. 10, Ugone NetScout Dep. Tr. at 117:4-25; 118:24-119:5 (“




                                                       .”). 16 In all, Dr. Ugone did not consider the

 circumstances mandated by Prism. See Prism, 849 F.3d at 1369-71. He did not conduct any

 analysis as to how the stage of litigation may have affected the value of the Settlement Agreements.

 Id. For this additional reason, Dr. Ugone’s reliance on the Settlement Agreements is unreliable.

        2. Dr. Ugone’s “Apportionment Factor” Is Unreliable Because It Relies Exclusively
           On A Technical Assessment And Lacks Any Independent Economic Analysis

        Dr. Ugone applied a “apportionment factor” of 50% to NetScout’s nGeniusONE and

 GeoProbe product line revenue, 67% to NetScout’s Arbor product line revenue and Sandvine’s

 PTS and PacketLogic product line revenue, and 75% to Sandvine’s NAVL product line revenue.

 Ex. 1, Ugone Netscout Report, ¶ 127; Ex. 3, Ugone Sandvine Report, ¶ 138. Dr. Ugone adopted

 these percentages directly from Implicit’s technical expert, Dr. Almeroth, who purports to have

 analyzed the “technical importance, expressed as a percentage, of [Defendants’] alleged

 infringement to its Accused Products as a whole.” Ex. 1, Ugone Netscout Report, at ¶ 126; Ex. 3,

 Ugone Sandvine Report, at ¶ 137. Dr. Ugone testified that he relied exclusively on Dr. Almeroth

 for his “apportionment analysis.” Ex. 10, Ugone NetScout Dep. Tr., 237:16-239:11; Ex. 9, Ugone

 Sandvine Dep. Tr. at 12:16-18. Dr. Almeroth testified that he was not an economist, and while he

 was offering a “technical importance” analysis that could be translated into an economic valuation,



 16
   Ex. 10, Ugone NetScout Dep. Tr. at 164:3-165:21 (Ericsson); 210:16-19 (Cisco); 229:12-230:6
 (PAN).

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 he was not doing that translation himself. Ex. 12, Almeroth Rough Dep. Tr., 130:19-131:9. Thus,

 Dr. Ugone’s “apportionment factor” does not reflect any economic consideration whatsoever.

        In a reasonable royalty analysis, damages must be tied “to the claimed invention’s footprint

 in the marketplace.” ResQNet.com, 594 F.3d at 869. Thus, “where multi-component products are

 involved, the governing rule is that the ultimate combination of royalty base and royalty rate must

 reflect the value attributable to the infringing features of the product, and no more.” Ericsson, Inc.

 v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014) (citing VirnetX, Inc. v. Cisco Sys., Inc.,

 767 F.3d 1308, 1326 (Fed. Cir. 2014)). When the accused products have both patented and non-

 patented features, unless an expert is invoking the entire market value rule, the expert must perform

 an apportionment analysis in order to determine the value added by such features. Id.

        An apportionment analysis is performed as part of a damages calculation. Ericsson, 773

 F.3d at 1226. As such, “there is an inherently economic quality to an apportionment analysis:

 parties are attempting to ‘apportion the defendant’s profits and the patentee’s damages between

 the patented features and the unpatented features.’” Ex. 13, Realtime Data LLC v. Actian Corp.,

 No. 6:15-cv-00463-RWS-JDL, Doc. No. 481, slip op. at 10 (E.D. Tex. Mar. 24, 2017) (quoting

 Garretson v. Clark, 111 U.S. 120, 121 (1884)). Applicable to this context, this Court explained:

        Typically, certain technical inputs are relevant to the apportionment analysis. In
        order to ultimately determine the economic value attributable to the infringing
        features, it is helpful to understand the technical aspects of an accused product and
        how they interact with one another. Dr. Keller, with his Ph.D. in computer science
        and academic and industry experience in hardware and software design and
        development, is qualified to review the technical information in this case and opine
        regarding the importance of the various features of the accused products from a
        technical perspective. However, due to Dr. Keller’s limited experience with
        economic apportionment, he is not qualified to provide an ultimate opinion with
        respect to a damages value attributable to the infringing features of the accused
        products. In other words, Dr. Keller’s opinions about the technical value of the
        infringing features may be an input into the damages expert’s opinion about the
        proper apportionment value attributable to the infringing features, but may not be
        the final apportionment value itself. In turn, this means Mr. Mills cannot simply



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        rely on the technical value Dr. Keller ascribes to the infringing features of the
        accused products in determining a proper apportionment value.

 Id. at 10-11. Similarly, Dr. Ugone cannot simply rely on the technical value Dr. Almeroth ascribes

 to the infringing features of the accused products in determining a proper apportionment value.

 Because that is precisely what Dr. Ugone did, his “apportionment factor” is unreliable, his revenue

 base is unreliable, and the Court should exclude his opinions.

        3. Dr. Ugone Improperly Constructs Two Separate Hypothetical Negotiations Per
           Defendant.

        Dr. Ugone’s hypothetical negotiation framework is contrary to law and thus unreliable.

 With respect to Sandvine, Dr. Ugone contends that a first hypothetical negotiation would have

 occurred in April 2014 (the date of first issuance of the Asserted Patents) between Implicit and

 Legacy Sandvine17 covering the accused PTS products only. Ex. 3, Ugone Sandvine Report, at ¶¶

 4-9. See also ¶ 13 (reflecting two hypothetical negotiation outcomes). Dr. Ugone further contends

 that a second hypothetical negotiation would have occurred in July 201718 between Implicit and

 Sandvine covering the accused PacketLogic and NAVL product lines. Id. The PacketLogic and

 NAVL products were on the market and sold continuously by Procera Networks, Inc. before the

 April 2014 issuance date of the Asserted Patents, and Implicit seeks damages on sales starting in

 April 2014 from Sandvine.19

        With respect to NetScout, Dr. Ugone contends that a first hypothetical negotiation would




 17
    Sandvine Corporation was purchased by Francisco Partners in or around July 2017, and Dr.
 Ugone refers to the pre-acquisition Sandvine Corporation as Legacy Sandvine. Ex. 3, Ugone
 Sandvine Report, ¶5, fn. 9.
 18
    The date Francisco Partners acquired Sandvine Corporation, and approximate timeframe when
 Procera Networks began selling the PacketLogic and NAVL products under the Sandvine brand
 name. Ex. 3, Ugone Sandvine Report, ¶¶ 5 (fn. 9), 25.
 19
    Sandvine incorporates by reference its concurrently filed Motion for Partial Summary Judgment
 relating to sales of PacketLogic and NAVL prior to September 2017.

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 have occurred in April 2014 (date of first asserted patent issuance) between Implicit and NetScout

 covering only the nGeniusONE product line. Ex. 1, Ugone NetScout Report, at ¶¶ 4-9; see also ¶

 13 (reflecting two hypothetical negotiation outcomes). Dr. Ugone further contends that a second

 hypothetical negotiation would have occurred in July 2015 between Implicit and NetScout

 covering the GeoProbe and Arbor product lines that NetScout acquired from Danaher Corporation

 through an acquisition of Danaher’s Communications Business unit. Id. The GeoProbe and Arbor

 products were on the market and sold by Danaher Corporation before the April 2014 issuance date

 of the Asserted Patents, and Implicit seeks damages on sales starting in April 2014 from NetScout.

        The first problem with Dr. Ugone’s two-hypothetical negotiations approach, applicable to

 both Defendants, is that there can only be one hypothetical negotiation just before the date of first

 infringement. Applied Med. Res. Corp. v. United States Surgical Corp., 435 F.3d 1356, 1361 (Fed.

 Cir. 2006) (emphasizing the “rule that the hypothetical negotiation relates to the date of first

 infringement.”) (citing Wang Labs., Inc. v. Toshiba Corp., 993 F.2d 858, 870 (Fed. Cir. 1993));

 Minks v. Polaris Indus., Inc., 546 F.3d 1364, 1372 (Fed. Cir. 2008) (confirming the date of the

 hypothetical negotiation occurs “at the time infringement began.”). The Federal Circuit has

 specifically explained “that in each case there should be only a single hypothetical negotiation date,

 not separate dates for separate acts of infringement.” LaserDynamics, Inc., 694 F.3d at 76. There

 is no dispute that, in both the NetScout and Sandvine cases, the date of first infringement is April

 2014 as to all Accused Products. Each Accused Product was on the market at this time. Because

 Dr. Ugone has constructed two distinct hypothetical negotiations, directly contrary to law, his

 opinion is unreliable and the Court should exclude it.

        The second problem, in the context of the Sandvine case, is that Dr. Ugone does not have

 the correct parties to the hypothetical negotiation with respect to Procera’s PacketLogic and NAVL




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 product lines. The hypothetical negotiation is “between the patentee and infringer (both

 hypothetically willing) at the time infringement began.” Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572,

 1579 (Fed. Cir. 1996). When the wrong parties are placed in the hypothetical bargaining room,

 unreliable assumptions result. See e.g., Oracle Am., Inc. v. Google Inc., 798 F. Supp. 2d 111, 1117

 (N.D. Cal. 2011) (negotiation between Plaintiff and Defendant was misleading where Plaintiff was

 not the patent owner at the time of the hypothetical negotiation). The alleged infringer, with respect

 to the PacketLogic and NAVL products, at the time infringement began in April 2014 was Procera

 Networks, Inc., not Sandvine. Ex. 3, Ugone Sandvine Report, ¶5. Sandvine was acquired by the

 now common parent of these two entities; it was not Sandvine that was the acquiror. There is no

 basis in fact, law, or logic as to why Sandvine would have properly been in the hypothetical

 bargaining room in April 2014 to negotiate a license for Procera’s PacketLogic and NAVL

 products. Sandvine had no stake in those products in April 2014, and there is zero basis for

 Sandvine liability as to sales of those from April 2014 to July 2017.20 Thus, Dr. Ugone has utilized

 the wrong hypothetical negotiator with respect to the accused PacketLogic and NAVL products.

        4. Dr. Ugone Improperly Includes Revenue From Non-Accused Products and
           Services In Royalty Base

        The Court should exclude any testimony from Dr. Ugone that includes within the royalty

 base products that are not accused of infringement. Plaintiff’s technical expert, Dr. Almeroth, has

 set out the universe of accused products that practice the patented invention—for NetScout, that

 is: (1) “GeoProbe device”; (2) InfiniStream “full product”; and (3) “Arbor [TMS, AED, and APS]

 product”; and, for Sandvine, that is: (1) “PTS device”; (2) “PacketLogic device”; and (3) “NAVL

 product.” See Ex. 14, Almeroth Report at 603-638; see also ¶¶ 121, 123, 159, 192, 233-35, 295-



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   Sandvine refers to its concurrently filed Motion for Partial Summary Judgment relating to sales
 of PacketLogic and NAVL prior to September 2017.

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 96, 344; see also Commonwealth Sci. & Indus. Research Organisation v. Cisco Sys., Inc., 809 F.3d

 1295, 1302 (Fed. Cir. 2015) (citing LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51,

 67 (Fed. Cir. 2012)). Because Dr. Ugone has not provided any analysis based on the entire market

 value rule or convoyed sales, there is no basis to include revenue from non-accused products and

 services into the royalty base here. See Ex. 10, Ugone NetScout Tr. at 56:23-57:9; Ex. 9, Ugone

 Sandvine Tr. at 7:9-19; see also, e.g., AstraZeneca 782 F.3d at 1343 (Fed. Cir. 2015) (noting that

 “[t]he royalty base for reasonable royalty damages cannot include activities that do not constitute

 infringement.”); Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014); Virnetx,

 Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1329 (Fed. Cir. 2014). Absent a convoyed sales analysis,

 Dr. Ugone has no basis to include non-infringing products and services in the royalty base.

        Nonetheless, Dr. Ugone includes an expansive universe of non-infringing products and

 services in his revenue base, including revenue relating to application software, services, support,

 and maintenance that are not accused of infringement. See Ex. 2, Ugone NetScout Report at Ex.

 5; Ex. 4, Ugone Sandvine Report at Ex. 6. Because Dr. Ugone has not provided any analysis based

 on the entire market value rule or convoyed sales for Sandvine, there is no basis to include revenue

 from non-accused services into the royalty base here and his opinions should be excluded.

 IV.    CONCLUSION

        For the foregoing reasons, Defendants respectfully request that this Court exclude opinion

 testimony from Dr. Ugone that relies upon (1) the Settlement Agreements, (2) two hypothetical

 negotiations, (3) a royalty base that includes non-accused products, or (4) an improper

 apportionment analysis. Furthermore, due to the impact of each of these points of unreliability

 individually and as a whole, Defendants request that this Court exclude the opinions of Dr. Ugone

 regarding damages in their entirety.




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 Dated: September 30, 2019          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). Plaintiff’s counsel of record were served with a true and

 correct copy of the foregoing document by electronic mail on September 30, 2019.


                                                    /s/ Melissa R. Smith
                                                    Melissa R. Smith




                             CERTIFICATE OF CONFERENCE

        I hereby certify that counsel for Defendants has complied with the meet and confer

 requirement in Local Rule CV-7(h) and that the accompanying motion is opposed. I further certify

 that counsel for Defendants met and conferred with counsel for Plaintiff on September 30, 2019.

                                                    /s/ Melissa R. Smith
                                                    Melissa R. Smith




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